              Case 23-10831-MFW                Doc 1084        Filed 03/08/24        Page 1 of 12




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson Consultants
LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On February 29, 2024, at my direction and under my supervision, employees of KCC
caused to be served the following document via Electronic Mail upon the service lists attached
hereto as Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached hereto
as Exhibit C and Exhibit D:

    •    Reply in Support of the Debtors' Second Motion to Extend the Debtors' Exclusive
         Periods to File and Solicit Votes on a Chapter 11 Plan [Docket No. 1029]

Dated: March 8, 2024
                                                               /s/ Esmeralda Aguayo
                                                               Esmeralda Aguayo
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
Case 23-10831-MFW   Doc 1084   Filed 03/08/24   Page 2 of 12




                    Exhibit A
                             Case 23-10831-MFW                     Doc 1084            Filed 03/08/24             Page 3 of 12
                                                                           Exhibit A
                                                                    Core/2002 Service List
                                                                   Served via Electronic Mail



                 Description                           CreditorName                      CreditorNoticeName                              Email
                                                                                                                       daniel.guyder@allenovery.com;
                                                                                                                       bradley.pensyl@allenovery.com;
 Counsel to Hon Hai Precision Industry                                                                                 chris.newcomb@allenovery.com;
 Co., Ltd. (a/k/a Hon Hai Technology                                               Daniel Guyder, Bradley Pensyl,      justin.ormand@allenovery.com;
 Group), Foxconn EV Technology, Inc.,                                              Christopher Newcomb, Justin         joseph.badtke-berkow@allenovery.com;
 Foxconn EV Property Development LLC,                                              Ormand, Joseph Badtke-Berkow,       jacob.herz@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                       Jacob R. Herz, Robin Spigel         robin.spigel@allenovery.com
 Counsel to Hon Hai Precision Industry
 Co., Ltd. (a/k/a Hon Hai Technology
 Group), Foxconn EV Technology, Inc.,                                                                                  noah.brumfield@allenovery.com;
 Foxconn EV Property Development LLC,                                              Noah Brumfield, Patrick Pearsall,   patrick.pearsall@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                       Michael Modesto Gale                michael.modestogale@allenovery.com
 Counsel to Applied Medical Resources
 Corp.                                     Austria Legal, LLC                      Matthew P. Austria                  maustria@austriallc.com
 Committee of Unsecured Creditors          Barry L. Leonard & Co. Inc.             Attn: Kim Parsons                   kim@trans-machine.com
 Top 30 and Committee of Unsecured
 Creditors                                 Barry L. Leonard and Company Inc.       dba Trans Machine Technologies Barry@trans-machine.com
 Counsel to Edward Hightower and Adam Benesch Friedlander Coplan &                 Jennifer R. Hoover, Steven L.  jhoover@Beneschlaw.com;
 Kroll                                     Aronoff LLP                             Walsh                          swalsh@Beneschlaw.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                                                 greg.varallo@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &             Gregory V. Varallo, Glenn R.        glenn.mcgillivray@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                              McGillivray, Daniel Meyer           daniel.meyer@blbglaw.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                             Jeroen van Kwawegen, Thomas         jeroen@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &             G. James, Margaret Sanborn-         Thomas.James@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                              Lowing                              Margaret.Lowing@blbglaw.com
                                                                                                                       msawyer@brownrudnick.com;
 Counsel to the Official Committee of                                              Matthew A. Sawyer, Sharon I.        sdwoskin@brownrudnick.com;
 Equity Security Holders                    Brown Rudnick LLP                      Dwoskin, Tristan G. Axelrod         taxelrod@brownrudnick.com
                                                                                                                       rstark@brownrudnick.com;
 Counsel to the Official Committee of                                              Robert J. Stark, Bennett S.         bsilverberg@brownrudnick.com;
 Equity Security Holders                     Brown Rudnick LLP                     Silverberg, Michael S. Winograd     mwinograd@brownrudnick.com
 Counsel to Oracle America, Inc.             Buchalter, A Professional Corporation Shawn M. Christianson, Esq.         schristianson@buchalter.com
 Counsel to Cigna Health and Life
 Insurance Company                           Connolly Gallagher LLP                Jeffrey C. Wisler                   jwisler@connollygallagher.com
 Official Committee of Equity Security
 Holders                                     Crestline Management, L.P.            Attn: Shaun McGowan                 summitcompliance@crestlineinc.com
 Bankruptcy Counsel to the to the
 Securities Litigation Lead Plaintiff George
 Troicky                                     Cross & Simon, LLC                    Christopher P. Simon, Esq.          csimon@crosslaw.com
                                                                                                                       attorney.general@state.de.us;
 Delaware State AG and DOJ                  Delaware Dept of Justice            Attorney General                       attorney.general@delaware.gov
 DE Secretary of State                      Delaware Secretary of State         Division of Corporations               dosdoc_bankruptcy@state.de.us
 DE State Treasury                          Delaware State Treasury                                                    statetreasurer@state.de.us
 Counsel to Oracle America, Inc.            Doshi Legal Group, P.C.             Amish R. Doshi, Esq.                   amish@doshilegal.com
 Official Committee of Equity Security      Esopus Creek Value Series Fund LP -
 Holders                                    Series “A”                          Attn: Andrew L. Sole                  andrewsole@ecvlp.com
                                                                                                                      citizenservices@myfloridalegal.com;
 Attorney General of FL (emp operations)    Florida Attorney General               Attn Bankruptcy Department         oag.civil.eserve@myfloridalegal.com
                                                                                   Attention: Jerry Hsiao and Steven jerry.hsiao@foxconn.com;
 Foxconn                                    Foxconn EV Technology, Inc.            Yu                                 stevenyu@foxconn.com
                                                                                   c/o Hon Hai Precision Industry
 Foxconn                                     Foxconn Ventures Ptd. Ltd.            Co., Ltd. Attn Jerry Hsiao         jerry.hsiao@Foxconn.com
 Counsel to Marelli North America, Inc.      Frost Brown Todd LLP                  A.J. Webb, Esq                     awebb@fbtlaw.com
 Counsel to Akebono Brake Corporation        Frost Brown Todd LLP                  Edward M. King                     tking@fbtlaw.com
 Counsel to Marelli North America, Inc.      Frost Brown Todd LLP                  Patricia K. Burgess                pburgess@fbtlaw.com
 Attorney General of GA (emp operations) Georgia Attorney General                  Attn Bankruptcy Department         Agcarr@law.ga.gov
 Foxconn                                     Hon Hai Precision Industry Co., Ltd   Attention Jerry Hsiao              jerry.hsiao@Foxconn.com
 Attorney General of IL (emp operations) Illinois Attorney General                 Attn Bankruptcy Department         bankruptcy_notices@ilag.gov
 IRS                                         Internal Revenue Service              Attn Susanne Larson                SBSE.Insolvency.Balt@irs.gov
 Bankruptcy Counsel to the to the                                                                                     metkin@lowenstein.com;
 Securities Litigation Lead Plaintiff George                                       Michael S. Etkin, Esq., Andrew     abehlmann@lowenstein.com;
 Troicky                                     Lowenstein Sandler LLP                Behlmann, Esq.,Scott Cargill, Esq. scargill@lowenstein.com
 Financial Advisor to the Official
 Committee of Equity Security Holders        M3 Advisory Partners                  Robert Winning                      rwinning@m3-partners.com
 Attorney General of MI (business
 operations)                                 Michigan Attorney General             Attn Bankruptcy Department          miag@michigan.gov




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                    Page 1 of 3
                             Case 23-10831-MFW                 Doc 1084           Filed 03/08/24             Page 4 of 12
                                                                       Exhibit A
                                                                Core/2002 Service List
                                                               Served via Electronic Mail



                Description                         CreditorName                    CreditorNoticeName                           Email
 Counsel to Michigan Department of                                            Heather L. Donald, Assistant
 Treasury                                Michigan Department of Treasury      Attorney General                  donaldh@michigan.gov
 Counsel to GAC R&D Center Silicon       Miller, Canfield, Paddock and Stone,
 Valley, Inc.                            P.L.C.                               Marc N. Swanson                      swansonm@millercanfield.com
 Counsel to the Official Committee of                                                                              emonzo@morrisjames.com;
 Equity Security Holders                   Morris James LLP                     Eric J. Monzo, Brya M. Keilson     bkeilson@morrisjames.com
                                                                                                                   rdehney@morrisnichols.com;
                                                                                Robert J. Dehney, Matthew B.       mharvey@morrisnichols.com;
                                                                                Harvey, Matthew O. Talmo, Donna mtalmo@morrisnichols.com;
 Counsel to Foxconn                        Morris, Nichols, Arsht & Tunnell LLP L. Culver                          dculver@morrisnichols.com
 Attorney General of NC (emp operations) North Carolina Attorney General        Attn Bankruptcy Department         ncago@ncdoj.gov
                                           Office of the United States Trustee                                     USTPRegion03.WL.ECF@USDOJ.GOV;
 US Trustee for District of DE             Delaware                             Benjamin Hackman                   benjamin.a.hackman@usdoj.gov
 Attorney General of OH (business
 operations)                               Ohio Attorney General                Attn Bankruptcy Department         trish.lazich@ohioattorneygeneral.gov
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly
 situated stockholders of Lordstown Motors
 Corp. f/k/a DiamondPeak Holdings Corp. Pashman Stein Walder Hayden, P.C. Joseph C. Barsalona II                   jbarsalona@pashmanstein.com
                                                                                                                   mikehuang@paulhastings.com;
 Counsel to Foxconn                        Paul Hastings LLP                    Mike Huang, Kevin P. Broughel      kevinbroughel@paulhastings.com
 Attorney General of PA (emp operations) Pennsylvania Attorney General          Attn Bankruptcy Department         info@attorneygeneral.gov
 Official Committee of Equity Security
 Holders                                   Pertento Partners LLP                Attn: Ian Trundle                  ian@pertento.com
 Counsel to Logicalis, Inc.                Polsinelli PC                        Christopher A. Ward                cward@polsinelli.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                                             gfbruckner@pomlaw.com;
 situated stockholders of Lordstown Motors                                      Gustavo F. Bruckner, Samuel J.     sjadams@pomlaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Pomerantz LLP                           Adams, Ankita Sangwan              asangwan@pomlaw.com
 Top 30 and Committee of Unsecured
 Creditors                                 SA Automotive LTD                    Shar Hedayat                       Shar.Hedayat@saautomotive.com
 Committee of Unsecured Creditors          SA Automotive Ltd.                   Attn: Katherine Diederich          katherine.diederich@aesseinvltd.com
 Counsel to Harco Manufacturing Group,
 LLC                                       Saul Ewing LLP                       Evan T. Miller                     evan.miller@saul.com
                                                                                                                   bankruptcynoticeschr@sec.gov;
 SEC Regional Office                       Securities & Exchange Commission NY Regional Office                     nyrobankruptcy@sec.gov
 SEC Regional Office                       Securities & Exchange Commission PA Regional Office                     philadelphia@sec.gov
                                                                                                                   SECBankruptcy-OGC-ADO@SEC.GOV;
 SEC Headquarters                          Securities & Exchange Commission Secretary of the Treasury              secbankruptcy@sec.gov
                                           Skadden, Arps, Slate, Meagher &      Joseph O. Larkin, Esq., Stephen J. Joseph.Larkin@Skadden.com;
 Counsel to LAS Capital LLC                Flom LLP                             Della Penna, Esq.                  stephen.dellapenna@skadden.com
                                           Skadden, Arps, Slate, Meagher &
 Counsel to LAS Capital LLC                Flom LLP                             Robert D. Drain, Esq.              Robert.Drain@skadden.com
                                           Skadden, Arps, Slate, Meagher &      Ron E. Meisler, Esq., Jennifer     Ron.Meisler@Skadden.com;
 Counsel to LAS Capital LLC                Flom LLP                             Madden, Esq.                       Jennifer.Madden@Skadden.com
 Counsel to Applied Medical Resources
 Corp.                                     Snell & Wilmer L.L.P.                Andrew B. Still                    astill@swlaw.com
 Counsel to Elaphe Propulsion
 Technologies Ltd.                         Sullivan Hazeltine Allinson LLC      William A. Hazeltine               whazeltine@sha-llc.com
 Top 30 and Committee of Unsecured                                                                                 jbasso@diversifiedtoolinggroup.com;
 Creditors                                 Superior Cam Inc                     John Basso                         jmbasso@diversifiedtoolinggroup.com
                                                                                                                   bankruptcytax@oag.texas.gov;
 Attorney General of TX (emp operations) Texas Attorney General                 Attn Bankruptcy Department         communications@oag.texas.gov
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders David M. Fournier, Tori L.             david.fournier@troutman.com;
 Unsecured Creditors                       LLP                                  Remington                          tori.remington@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                  Deborah Kovsky-Apap                deborah.kovsky@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                  Francis J. Lawall                  francis.lawall@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                  Sean P. McNally                    sean.mcnally@troutman.com
 US Attorney for District of Delaware      US Attorney for District of Delaware US Attorney for Delaware           usade.ecfbankruptcy@usdoj.gov
 Counsel to Elaphe Propulsion
 Technologies, Ltd                         Warner Norcross + Judd LLP           Stephen B. Grow                    sgrow@wnj.com
 Co-Counsel for the Debtors and Debtors-
 in-Possession                             White & Case LLP                     David M. Turetsky                  david.turetsky@whitecase.com
 Co-Counsel for the Debtors and Debtors-
 in-Possession                             White & Case LLP                     Jason N. Zakia                     jzakia@whitecase.com




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                Page 2 of 3
                             Case 23-10831-MFW               Doc 1084         Filed 03/08/24           Page 5 of 12
                                                                     Exhibit A
                                                              Core/2002 Service List
                                                             Served via Electronic Mail



                 Description                      CreditorName                    CreditorNoticeName                        Email
                                                                                                          rkampfner@whitecase.com;
 Co-Counsel for the Debtors and Debtors-                                   Roberto Kampfner, Doah Kim, RJ doah.kim@whitecase.com;
 in-Possession                           White & Case LLP                  Szuba                          rj.szuba@whitecase.com
                                                                                                          tlauria@whitecase.com;
 Co-Counsel for the Debtors and Debtors-                                   Thomas E Lauria, Matthew C.    mbrown@whitecase.com;
 in-Possession                           White & Case LLP                  Brown, Fan B. He               fhe@whitecase.com
 Local Co-Counsel for the Debtors and                                      Donald J. Detweiler, Morgan L. don.detweiler@wbd-us.com;
 Debtors-in-Possession                   Womble Bond Dickinson (US) LLP    Patterson                      morgan.patterson@wbd-us.com
                                                                                                          bankfilings@ycst.com;
 Counsel to Darren Post, Steve Burns,   Young Conaway Stargatt & Taylor,                                  sbeach@ycst.com;
 John LaFleur, and Rich Schmidt         LLP                                Sean M. Beach, Shane Reil      sreil@ycst.com




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                             Page 3 of 3
Case 23-10831-MFW   Doc 1084   Filed 03/08/24   Page 6 of 12




                    Exhibit B
                     Case 23-10831-MFW          Doc 1084     Filed 03/08/24   Page 7 of 12
                                                     Exhibit B
                                            Objecting Party Service List
                                             Served via Electronic Mail

                                     Description    CreditorName      Email
                                  Affected Claimant Rahul Singh  Email Redacted




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                             Page 1 of 1
Case 23-10831-MFW   Doc 1084   Filed 03/08/24   Page 8 of 12




                    Exhibit C
                                                           Case 23-10831-MFW                        Doc 1084          Filed 03/08/24                 Page 9 of 12
                                                                                                            Exhibit C
                                                                                                      Core/2002 Service List
                                                                                                    Served via First Class Mail



             Description                     CreditorName                      CreditorNoticeName                Address1                  Address2             Address3             City        State     Zip      Country
  Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                920 Brenner St                                                       Winston-Salem     NC    27101
  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
  Unsecured Creditors              Inc.                                  Technologies                     Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
  Attorney General of CA (business
  operations)                      California Attorney General           Attn Bankruptcy Department       1300 I St., Ste. 1740                                                Sacramento        CA    95814-2919
  Official Committee of Equity                                                                            201 Main Street, Suite
  Security Holders                 Crestline Management, L.P.            Attn: Shaun McGowan              1100                                                                 Fort Worth        TX    76102
                                                                                                          Attn Bankruptcy             Carvel State
  Delaware State AG and DOJ            Delaware Dept of Justice          Attorney General                 Department                  Building              820 N French St    Wilmington        DE    19801
  DE Secretary of State                Delaware Secretary of State       Division of Corporations         Franchise Tax               PO Box 898                               Dover             DE    19903
                                                                                                          820 Silver Lake Blvd.,
  DE State Treasury                    Delaware State Treasury                                            Suite 100                                                            Dover             DE    19904
  Attorney General of FL (emp
  operations)                          Florida Attorney General          Attn Bankruptcy Department       PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
                                                                                                                                      Grand Pavilion,       802 West Bay                                            Cayman
  Foxconn                              Foxconn (Far East) Limited                                         P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Islands
                                                                         Attention: Jerry Hsiao and       4568 Mayfield Road, Suite
  Foxconn                              Foxconn EV Technology, Inc.       Steven Yu                        204                                                                  Cleveland         OH    44121
                                                                         c/o Hon Hai Precision Industry                          Tucheng Industrial
  Foxconn                              Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao       No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
                                                                                                                                 Grand Pavilion,            802 West Bay                                            Cayman
  Foxconn                              Foxteq Holdings Inc.                                               P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
                                                                                                                                 Grand Pavilion,            802 West Bay                                            Cayman
  Foxconn                              Foxteq Integration Inc.                                            P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
  Attorney General of GA (emp
  operations)                          Georgia Attorney General          Attn Bankruptcy Department       40 Capital Square, SW                                                Atlanta           GA    30334-1300
                                       Hon Hai Precision Industry Co.,                                                           Tucheng Industrial
  Foxconn                              Ltd                               Attention Jerry Hsiao            No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
  Attorney General of IL (emp
  operations)                          Illinois Attorney General         Attn Bankruptcy Department       James R. Thompson Ctr       100 W. Randolph St.                      Chicago           IL    60601
  IRS                                  Internal Revenue Service          Attn Susanne Larson              31 Hopkins Plz Rm 1150                                               Baltimore         MD    21201
                                                                         Centralized Insolvency
  IRS                                  Internal Revenue Service          Operation                        PO Box 7346                                                          Philadelphia      PA    19101-7346
  Financial Advisor to the Official
  Committee of Equity Security                                                                            1700 Broadway, 19th
  Holders                              M3 Advisory Partners              Robert Winning                   Floor                                                                New York          NY    10019
  Attorney General of MI (business                                                                        G. Mennen Williams
  operations)                          Michigan Attorney General         Attn Bankruptcy Department       Building                    525 W. Ottawa St.     P.O. Box 30212     Lansing           MI    48909
  Attorney General of NC (emp
  operations)                          North Carolina Attorney General Attn Bankruptcy Department         9001 Mail Service Center                                             Raleigh           NC    27699-9001
                                       Office of the United States
  US Trustee for District of DE        Trustee Delaware                Benjamin Hackman                   844 King St Ste 2207        Lockbox 35                               Wilmington        DE    19801
  Attorney General of OH (business
  operations)                          Ohio Attorney General             Attn Bankruptcy Department    30 E. Broad St. 14th Fl                                                 Columbus          OH    43215-0410
  Counsel to Foxconn                   Paul Hastings LLP                 Mike Huang, Kevin P. Broughel 200 Park Avenue                                                         New York          NY    10166
  Foxconn                              PCE Paragon Solutions Kft.                                      Komarom                        Banki Donatu utca 1                                              2900       Hungary
  Attorney General of PA (emp                                                                          16th Floor, Strawberry
  operations)                          Pennsylvania Attorney General     Attn Bankruptcy Department    Square                                                                  Harrisburg        PA    17120
  Official Committee of Equity                                                                                                                                                                                      United
  Security Holders                     Pertento Partners LLP             Attn: Ian Trundle                111 Park Street                                                      London                  W1K 7JL      Kingdom




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                                                    Page 1 of 2
                                                       Case 23-10831-MFW                 Doc 1084             Filed 03/08/24           Page 10 of 12
                                                                                                     Exhibit C
                                                                                               Core/2002 Service List
                                                                                             Served via First Class Mail



             Description                    CreditorName              CreditorNoticeName                   Address1             Address2              Address3               City   State      Zip       Country
  Top 30 and Committee of
  Unsecured Creditors              SA Automotive LTD             Shar Hedayat                      1307 Highview Dr                                                 Webberville     MI      48892
  Committee of Unsecured Creditors SA Automotive Ltd.            Attn: Katherine Diederich         1307 Highview Drive                                              Webberville     MI      48892
                                   Securities & Exchange                                                                   100 Pearl St., Suite
  SEC Regional Office              Commission                    NY Regional Office                Regional Director       20-100                                   New York        NY      10004-2616
                                   Securities & Exchange                                                                                          1617 JFK
  SEC Regional Office              Commission                    PA Regional Office                Regional Director       One Penn Center        Boulevard Ste 520 Philadelphia    PA      19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury         100 F St NE                                                      Washington      DC      20549
  Top 30 and Committee of
  Unsecured Creditors              Superior Cam Inc              John Basso                        31240 Stephenson Hwy                                             Madison Heights MI      48071
  Attorney General of TX (emp
  operations)                      Texas Attorney General        Attn Bankruptcy Department        300 W. 15th St                                                   Austin          TX      78701
  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware          1313 N Market Street    Hercules Building                        Wilmington      DE      19801




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                                             Page 2 of 2
Case 23-10831-MFW   Doc 1084   Filed 03/08/24   Page 11 of 12




                    Exhibit D
                                       Case 23-10831-MFW      Doc 1084      Filed 03/08/24     Page 12 of 12
                                                                    Exhibit D
                                                           Objecting Party Service List
                                                           Served via First Class Mail

                                            Description    CreditorName     Address1         City State Zip
                                         Affected Claimant Rahul Singh  Address Redacted




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                            Page 1 of 1
